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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 X CORP.,                                          §
                                                   §
          Plaintiff,                               §
                                                   §
 v.                                                §      Civil Action No. 4:23-cv-01175-O
                                                   §
 MEDIA MATTERS FOR AMERICA                         §
 and ERIC HANANOKI,                                §
                                                   §
          Defendants.                              §

                                               ORDER

         Before the Court is Plaintiff’s Motion to Compel and Memorandum in Support (ECF Nos.

59, 60), filed May 24, 2024. Based on this motion, it appears the parties have a discovery dispute.

Of course, discovery in federal court should largely be “self-executing.” Dondi Properties Corp.

v. Com. Sav. & Loan Ass'n, 121 F.R.D. 284, 289 (N.D. Tex. 1988) (emphasizing that “in general

the rules dealing with discovery in federal cases are to be self-executing”). In the instant motion,

Plaintiff represents the parties have preliminarily met to discuss this dispute but have been unable

to resolve it. Dondi Properties requires attorneys to hold meaningful discussions in a sincere

attempt to resolve this discovery dispute without court intervention. Id. Dondi Properties sets the

standards of litigation conduct that all counsel agreed to adhere to when signing pleadings and

litigating in the Northern District of Texas. Id. at 1.

         Counsel should evaluate their respective positions related to this discovery dispute in light

of Dondi Properties. After doing so, Defendants shall respond to those disputes that remain no

later than May 29, 2024. Plaintiff shall reply no later than May 31, 2024.

         SO ORDERED on this 25th day of May, 2024.

                                                          _____________________________________
                                                          Reed O’Connor
                                                   1      UNITED STATES DISTRICT JUDGE
